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12
                          IN THE UNITED STATES DISTRICT COURT
13
                                 FOR THE DISTRICT OF ARIZONA
14
15   United States of America,                            CR 22-01545-TUC-RM (EJM)
16                         Plaintiff,
                                                        NOTICE OF CONFESSIONS,
17          vs.                                       ADMISSIONS AND STATEMENTS
                                                     PURSUANT TO LOCAL RULE 16.1(a)
18
     Aaron Thomas Mitchell,
19
                           Defendant.
20
21
            Notice is hereby given, pursuant to LRCrim 16.1(a), that all confessions,
22
     admissions and statements provided in government disclosure will be introduced into
23
     evidence by the government at the trial in this matter.
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     ///
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28
     Case 4:22-cr-01545-RM-EJM Document 73 Filed 11/22/23 Page 2 of 2




 1
      See United States v. Hall, 742 F.2d 1153, 1156 (9th Cir. 1984); United States v. Long,
 2
     455 F.2d 962, 963 (9th Cir. 1972).
 3
           Respectfully submitted this 22nd day of November 2023.
 4
 5                                           GARY M. RESTAINO
                                             United States Attorney
 6                                           District of Arizona
 7                                           s/ Carin C. Duryee
                                             CARIN C. DURYEE
 8                                           Assistant U.S. Attorney
 9
10   Copy of the foregoing served electronically or by
     other means this 22nd day of November 2023, to:
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     All ECF Participants
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